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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 Britney Halverson, Individually and on          §
 behalf of all others similarly situated,        §
                                                 §
                Plaintiff,                       §        Civil Action No. 3:21-cv-00565
                                                 §
 v.                                              §
                                                 §
 RCI Hospitality Holdings, Inc., d/b/a XTC       §
 Cabaret,                                        §        Jury Trial Demanded
                                                 §
                Defendant.                       §
                                                 §


                    ORIGINAL COLLECTIVE ACTION COMPLAINT


       Plaintiff Britney Halverson, individually and on behalf of similarly situated employees,

files this Original Collective Action Complaint, and states as follows:

                                                 I.

                                            SUMMARY

       1.      This is a collective action brought pursuant to 29 U.S.C. § 216(b) by Plaintiff

Britney Halverson (“Plaintiff”), on behalf of herself and all others similarly situated, which arises

from Defendant’s willful violation of the federal Fair Labor Standards Act (“FLSA”), 29 U.S.C.

§201, et seq., for failure to pay proper minimum wage and overtime wages for all hours of work

performed by its employees.

       2.      Defendant RCI Hospitality Holdings, Inc. dba XTC Cabaret (“Defendant” or “XTC

Cabaret”) operates nightclubs in Dallas, Texas, and employs Plaintiff and others similarly situated

as dancers to provide entertainment to customers who visit and frequent the establishment.




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       3.      Plaintiff brings this collective action on behalf of herself and others similarly

situated to challenge Defendant’s unlawful policy and practice of misclassifying its dancers as

“independent contractors” when they are properly classified as employees.

       4.      By misclassifying its dancers as “independent contractors,” Defendant violated the

FLSA by failing to pay its workers minimum wage and overtime for all time worked in excess of

forty hours per week.

       5.      Plaintiff brings this claim under the FLSA on behalf of all similarly situated

employees who may choose to opt in to this action pursuant to 29 U.S.C. §216(b).

                                                   II.

                             PARTIES, JURISDICTION & VENUE

       6.      Plaintiff Britney Halverson is an individual residing of Los Angeles County,

California.

       7.      Defendant is a domestic for-profit corporation that doing business as XTC Cabaret

in Dallas County, Texas.

       8.      Defendant maintains the following registered agent for service of process: Robert

Axelrod, 5300 Memorial Drive, Suite 1000, Houston, Texas 77007.

       9.      The Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 as the

Complaint is based on the federal Fair Labor Standards Act.

       10.     Venue is also proper in this Court because Defendant operates its ongoing business

within this judicial district and because a substantial part of the events or omissions giving rise to

Plaintiff’s claim occurred within this District.

                                                   III.

                           FACTS APPLICABLE TO ALL COUNTS




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       11.    Plaintiff worked at XTC Cabaret as an exotic dancer from roughly November 2019

to December 2019. Throughout this time, Plaintiff was misclassified as an independent contractor

and not paid any wages for the work at XTC Cabaret.

       12.    Plaintiff was not paid any wages because of the misclassification as an independent

contractor; the only compensation was comprised of tips which are not credited against the

requirement to pay at least the minimum wage.

       13.    Plaintiff found out about an opening to work at XTC through a contact, and then

went to audition at XTC.

       14.    After meeting XTC’s requirements, Plaintiff began dancing. The dancing duties

included spending mandatory time on XTC’s many stages.

       15.    Despite dancing and performing work for XTC, Defendant failed to pay plaintiffs

and the class minimum wage as required by 29 U.S.C. § 206 since no wages were paid.

       16.    Also, Plaintiff was not paid overtime wages for work over forty hours in a week, in

violation of 29 U.S.C. § 207, even though they often worked more than 40 hours a week.


                                              IV.

                                    CAUSE OF ACTION

                           VIOLATION OF THE FAIR LABOR STANDARDS ACT

       17.    Plaintiff incorporates the above numbered paragraphs above as if fully set forth.

       18.    The Fair Labor Standards Act applies because Plaintiff and similarly situated class

members were employees under the FLSA and were and are engaged in commerce pursuant to 29

CFR § 776.10.1.

       19.    Also, under the alternative enterprise test, the FLSA applies because Crazy Horse

has employees engaged in commerce and has annual gross volume sales made or business done

over $500,000.
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        20.     Under 29 USC § 206(a), employees must be paid at least the national minimum

wage for hours worked. Defendant paid no wages at all, leading to FLSA violations.

        21.     An aggrieved employee may file a lawsuit to recover for violations of the Fair

Labor Standards Act pursuant to 29 USC § 216(b) on behalf of himself or herself and all others

similarly situated; this is a collective action.

        22.     Attached is Plaintiff’s consent to be a party plaintiff.

        23.     According to 29 USC § 216(b), employees who bring a civil action under the FLSA

may obtain back-pay, liquidated damages, injunctive relief, interest, and attorney fees.

        24.     Based on the factors that the Fifth Circuit articulated in Vaughan v. Document Grp.,

Inc., 250 F.Supp.3d 236, 242 (S.D. Tex. 2017), Plaintiff and the members of the collective should

have been classified as employees instead of independent contractors.

        25.     Plaintiff and the members of the collective were under XTC’s direct control while

working for Defendant, as Defendant depends on the exotic dancers to attract customers. Exotic

dancers make few investments other than dancing costumes and they have no opportunity for profit

or loss – they are tipped employees. Further, exotic dancing does not require any specialized skills

that a real independent contractor would utilize.

                                                    V.

                                  REQUEST FOR JURY TRIAL

        26.     Plaintiff requests a jury trial pursuant to Federal Rule of Civil Procedure 38.

                                                    VI.

                                      PRAYER FOR RELIEF

        27.     Plaintiff requests the following:

                a.      That this action may be maintained as a collective action;

                b.      Payment of all unpaid minimum and overtime wages, including liquidated
                        damages for the willful violations, plus interest;
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             c.        Restitution of all unlawful deductions taken from the wages;

             d.        For restitution of wrongfully withheld wages and tips;

             e.        Attorney fees and costs;

             f.        Other relief the court deems proper.




Date: March 11, 2021                                 By: /s/ Abbas Kazerounian
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